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July 8, 2025

VIA ECF

The Honorable John G. Koeltl
United States District Judge
Southern District of New York
500 Pearl St., Courtroom 14A
New York, NY 10007

Re:  DailyPay, LLC v. James, No. 25-CV-2849 (S.D.N.Y.)

Dear Judge Koeitl:

We write respectfully on behalf of all parties, pursuant to Section LC. of Your
Honor’s Individual Practices, to request an adjournment of the initial conference
scheduled for July 31, 2025 at 3:30 p.m.

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Defendant’s time to respond to the Complaint currently is stayed until fourteen
days after a decision on the motion to remand in the action captioned People of the State
of New York v. DailyPay, Inc., No. 25-CV-3439 (S.D.N.Y.). See ECF No. 18. An
adjournment of the initial conference until after responsive pleadings have been filed will
promote efficiency and conserve judicial resources. This is the parties’ first request for
an adjournment.

We thank the Court for its consideration of this letter.

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Respectfully Submitted,
By: _/s/ Marcus A. Asner By: _/s/ Christopher L. Filburn

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